                           DECISION OF DISMISSAL
This matter is before the court on Defendant's Motion to Dismiss on the ground that Plaintiff failed to appeal within the 90 days required by ORS 305.280(1).
A review of Plaintiff's materials shows Defendant gave Plaintiff actual notice of Defendant's clerical error correction on June 30, 2008. Plaintiff did not file her appeal until October 23, 2008. This interval is longer than the 90 days allowed by ORS 311.223(4) and ORS 305.280(1),1 which provide:
    "Except as otherwise provided in this section, an appeal under ORS 305.275 (1) or (2) shall be filed within 90 days after the act, omission, order or determination becomes actually known to the person, but in no event later than one year after the act or omission has occurred[.]"
ORS 305.280(1).
Plaintiff has not presented any fact or argument which prevents the application of that statute. Defendant's motion is granted. Now, therefore, *Page 2 
IT IS THE DECISION OF THIS COURT that Defendant's Motion to Dismiss is allowed. The Complaint is dismissed.
Dated this ___ day of April 2009.
If you want to appeal this Decision, file a Complaint in the RegularDivision of the Oregon Tax Court, by mailing to: 1163 State Street,Salem, OR 97301-2563; or by hand delivery to: Fourth Floor, 1241 StateStreet, Salem, OR.
 Your Complaint must be submitted within 60 days after the date of theDecision or this Decision becomes final and cannot be changed.
 This document was signed by Magistrate Jeffrey S. Mattson on April 29,2009. The Court filed and entered this document on April 29, 2009.
1 References to the Oregon Revised Statutes (ORS) are to 2007. *Page 1 